            Case 3:19-cv-00725-SDD-RLB                  Document 37          01/09/20 Page 1 of 2




                                  UNITED STATES DISTRICT COURT

                                   MIDDLE DISTRICT OF LOUISIANA


CITY OF BATON ROUGE/
EAST BATON ROUGE PARISH,
CONSOLIDATED PARISH EMPLOYEES
RETIREMENT SYSTEM and POLICE
GUARANTY FUND

Plaintiffs,
                                                               Civil Action No. 3:19-cv-00725-SDD-RLB
v.

BANK OF AMERICA, N.A., et al.,

Defendants.




           DEFENDANT BARCLAYS BANK PLC’S MOTION TO DISMISS
     PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(B)(2) AND 12(B)(6)

           NOW INTO COURT, through undersigned counsel, comes Defendant Barclays Bank,

PLC (“BBPLC”),1 and pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6),

respectfully moves this Honorable Court to dismiss City of Baton Rouge/East Baton Rouge Parish,

Consolidated Parish Employees Retirement System and Police Guaranty Fund’s (“Plaintiffs”)

claims against BBPLC for lack of personal jurisdiction and failure to state a claim.

            For the reasons set forth in the accompanying memorandum in support of this motion,

this Court lacks personal jurisdiction over BBPLC, which is a financial institution organized under

the laws of England and Wales. Thus, BBPLC respectfully requests that Plaintiffs’ Amended

Complaint be dismissed under Federal Rule of Civil Procedure 12(b)(2). Additionally, Plaintiffs’


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    Barclays Bank PLC responds only on its own behalf. It does not respond on behalf of Barclays Capital Inc., which
      is a separate and distinct entity.
         Case 3:19-cv-00725-SDD-RLB            Document 37      01/09/20 Page 2 of 2




Amended Complaint should be dismissed under Federal Rule of Civil Procedure 12(b)(6) because

Plaintiffs fail to allege any facts to support wrongdoing by BBPLC.

        WHEREFORE, Defendant BBPLC respectfully prays that this Motion to Dismiss be

granted and that Plaintiffs’ claims against BBPLC be dismissed with prejudice in their entirety.



                                              Respectfully submitted,

                                               PHELPS DUNBAR LLP


                                               BY:     /s/ R. Harrison Golden
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                                               ATTORNEYS FOR BARCLAYS BANK PLC




                                  CERTIFICATE OF SERVICE

        I hereby certify that I have on this 9th day of January, 2020, electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send notice of

electronic filing to all counsel of record.


                                                      /s/ R. Harrison Golden
                                                     R. Harrison Golden




                                               -2-
